         Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 1 of 14



                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, ET AL.,    §
                                       §
        Plaintiffs,                    §
                                       §
v.                                     §
                                           Case No. 5:21-cv-844
                                       §
GREGORY W. ABBOTT, ET AL.,             §
                                       §
        Defendants.                    §

     STATE DEFENDANTS’ PARTIALLY-OPPOSED MOTION TO CONSOLIDATE
                Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 2 of 14



                                                                TABLE OF CONTENTS

Introduction ........................................................................................................................................................ 1
Background ......................................................................................................................................................... 1
Argument ............................................................................................................................................................ 3
      I. Under the First-to-File Rule, This Court Decides the Issue of Consolidation ........................... 3
                   A. The First-to-File Rule Applies Here .................................................................................... 3
                   B. This Court Decides the Consolidation Issue ...................................................................... 5
      II. This Court Should Consolidate the Four Cases .............................................................................. 5
                   A. The Cases were Filed in the Same Court ............................................................................ 6
                   B. The Cases Involve Substantially Similar Parties ................................................................. 7
                   C. The Cases Involve Nearly Identical Legal Issues ............................................................... 8
                   D. There is Little Risk of Confusion if the Cases are Consolidated, But There is Great
                      Risk of Prejudice from Inconsistent Adjudications if They are Not .............................. 8
                   E. Consolidation Will Conserve Judicial Resources ............................................................... 9
                   F. All of the Cases are at an Early Stage .................................................................................. 9
                   G. The Balance of the Factors Weighs Heavily in Favor of Consolidation ......................10
                   H. The Cases Must be Consolidated in the San Antonio Division ....................................10
Conclusion ........................................................................................................................................................10




                                                                                   ii
          Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 3 of 14



                                           INTRODUCTION

       This lawsuit was filed on September 3, and shortly thereafter, three additional lawsuits were

filed in this District challenging the same Senate Bill 1 (“SB1”). OCA-Greater Houston v. Esparza, No.

1:21-cv-780 (W.D. Tex.) (Sept. 3, 2021); Houston Justice v. Abbott, No. 5:21-cv-848 (W.D. Tex.) (Sept.

7, 2021); LULAC Tex. v. Esparza, No. 1:21-cv-786 (W.D. Tex.) (Sept. 7, 2021). The facts and legal

issues in these cases overlap extensively. Each case challenges SB1 as violating the First and

Fourteenth Amendments and the Voting Rights Act. E.g., ECF 1 ¶ 5; Ex. A ¶ 6 (OCA-Greater Houston

Complaint); Ex. B ¶ 22 (Houston Justice Complaint); Ex. C ¶ 12 (LULAC Complaint). Additionally,

three cases challenge SB1 as violating the Americans with Disabilities Act, e.g., ECF 1 ¶ 5; Ex. A ¶ 6;

Ex. B ¶ 22, two challenge SB1 as violating the Fifteenth Amendment, e.g., ECF 1 ¶ 5; Ex. B ¶ 22, and

two challenge SB1 as violating the Rehabilitation Act, e.g., Ex. A ¶ 6; Ex. B ¶ 22. At bottom, each case

challenges the same law as violating the Constitution and federal law.

       According to the Fifth Circuit’s first-to-file rule, this Court has the duty to address the

substantive issues raised in these four cases, because this case was filed first. This Court also has a

duty to determine how the three subsequently-filed cases should proceed. As explained below, the

Court should consolidate the subsequently-filed cases into this one.

       At present, only one group of plaintiffs opposes consolidation, while the remainder either do

not oppose consolidation or are undecided. Plaintiffs in the present case (with the exception of Isabel

Longoria who takes no position) and the plaintiffs in Houston Justice v. Abbott do not oppose

consolidation. The plaintiffs in LULAC Tex. v. Esparza are undecided, while the plaintiffs in OCA-

Greater Houston v. Esparza oppose consolidation.

                                            BACKGROUND

       SB1 was sent to Governor Abbott on September 1, 2021, and on September 3, La Unión del

Pueblo Entero, along with nine other organizational plaintiffs, Isabel Longoria, and James Lewin, filed


                                                   1
            Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 4 of 14



this lawsuit asserting multiple counts challenging SB1 as contrary to the Constitution and various

federal statutes. ECF 1 ¶¶ 9–21, 189–252. The same day, OCA-Greater Houston, and four other

organizational plaintiffs, filed a similar lawsuit challenging SB1 as contrary to the Constitution and

some of the same federal statutes in the Austin Division of this District. 1 Ex. A ¶¶ 9–30, 107–218.

        Governor Abbott signed SB1 into law on September 7, 2021, and that same day, two more

lawsuits were filed in federal court. Houston Justice, along with three other organizational plaintiffs

and Jeffrey Clemmons, filed suit in this Division. Ex. B ¶¶ 29–52. They too challenged SB1 as in

violation of the Constitution and federal statutes. Id. ¶¶ 175–266. LULAC Texas and two other

organizational plaintiffs filed the other lawsuit that day, challenging SB1 as violating the Constitution

and federal statutes, in the Austin Division of this District. Ex. C ¶¶ 19–25, 243–83.

        The Plaintiffs here assert that SB1 violates the First, Fourteenth, and Fifteenth Amendments,

Sections 2 and 208 of the Voting Rights Act, the Americans with Disabilities Act, and the Supremacy

Clause. ECF 1 ¶¶ 189–252. Their Complaint alleges issues with multiple provisions of SB1. E.g., id.

¶ 2. As discussed above, the three subsequently-filed cases challenge the same law, based on alleged

issues with the same provisions, and based on the same constitutional amendments and federal

statutes. E.g., Ex. A ¶ 79; Ex. B ¶ 21–22; Ex. C ¶¶ 12, 154. These four lawsuits name many of the

same defendants. Each names Acting Secretary of State Esparza and Attorney General Paxton, and

other common defendants include the Harris County Elections Administrator, 2 Governor Abbott,




       The present case was the first case filed on September 3, as indicated by the filing fee receipt
        1

number here (0542-15188447) being less than that in the OCA-Greater Houston case (0542-15189245).
        2
         Isabel Longoria is a plaintiff in the present case and a defendant in the other cases. However,
this does not foreclose consolidation. E.g., Arnold & Co., LLC v. David K. Young Consulting, LLC, No.

                                                    2
          Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 5 of 14



and the Travis County Clerk. ECF 1 ¶¶ 22-29, Ex. A ¶¶ 31–36, Ex. B. ¶¶ 53–57, Ex. C ¶¶ 26–33.

                                               ARGUMENT

        The answers to two questions determine the proper course of action here. First, which court

should decide how these cases are to proceed? Under the first-to-file rule, it is this Court that must

make that decision. Second, what action should this Court take with respect to the four cases? This

Court should consolidate the subsequently-filed cases into this one, as all of the relevant factors weigh

in favor of consolidation. These two issues are addressed in turn.

I.      Under the First-to-File Rule, This Court Decides the Issue of Consolidation

        What to do when parties file substantially-similar lawsuits is determined by the Fifth Circuit’s

first-to-file rule. See generally Yeti-Coolers, L.L.C. v. Beavertail Prods., L.L.C., No. 1:15-cv-415, 2015 WL

4759297, at *1–2 (W.D. Tex. Aug. 12, 2015) (explaining the rule). It is a discretionary rule, designed

“to avoid the waste of duplication, to avoid rulings which may trench upon the authority of sister

courts, and to avoid piecemeal resolution of issues that call for a uniform result.” Sutter Corp. v. P & P

Indus., Inc., 125 F.3d 914, 917 (5th Cir. 1997) (quoting W. Gulf Mar. Ass’n v. ILA Deep Sea Local 24, 751

F.2d 721, 728–29 (5th Cir 1985)).

            A. The First-to-File Rule Applies Here

        The first-to-file rule applies because these cases present substantially overlapping issues. See

Mann Mfg. Inc. v. Hortex, Inc., 439 F.2d 403, 408 (5th Cir. 1971). The lawsuits do not have to be

“identical,” but rather need only “overlap on the substantive issues.” Id. at 408 n.6. Where “the overlap

between two suits ‘is less than complete, the judgment is made case by case, based on such factors as




5:12-cv-146, 2013 WL 1411773, at *1–2 (W.D. Tex. Apr. 8, 2013) (consolidating two cases in which
the role of the parties were reversed).

                                                      3
           Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 6 of 14



the extent of overlap, the likelihood of conflict, the comparative advantage and the interest of each

forum in resolving the dispute.’” Save Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947, 948 (5th Cir. 1997)

(quoting TPM Holdings, Inc. v. Intra-Gold Indus., Inc., 91 F.3d 1, 4 (1st Cir. 1996)).

        The court where suit was first filed determines if the issues substantially overlap and, if they

do, what to do with the subsequently-filed cases. Mann Mfg., 439 F.2d at 408. The court where

subsequent suits were filed “only determine[] if a likelihood of substantial overlap of issues between the

two suits has been demonstrated,” and if it has, must defer to the first-filed court’s decision on how

to proceed. DynaEnergetics Europe GMBH v. Hunting Titan, Inc., No. 6:20-cv-69, 2020 WL 3259807, at

*1 (W.D. Tex. June 16, 2020) (emphasis added) (citing Mann Mfg., 439 F.2d at 408).

        The substantial overlap between the issues in this case and the three that followed it is readily

apparent. The four lawsuits allege that SB1 violates the Constitution and federal law. In this case,

Plaintiffs challenge provisions of SB1 in Article 2 (Registration of Voters), Article 3 (Conduct and

Security of Elections), Article 4 (Election Officers and Observers), Article 5 (Voting by Mail), Article

6 (Assistance of Voters), and Article 7 (Fraud and Other Unlawful Practices). ECF 1 ¶¶ 2, 68, 73, 75–

78, 83–87, 89, 97–98, 100–02, 105–08, 111, 113–14, 116–17, 185, 231, 234–36, 238–40, 242–46. The

plaintiffs in the other three cases challenge the same Articles in SB1. Ex. A ¶¶ 79, 83, 132, 142-43,

145–46, 158, 174–75, 182–83, 195, 206, 217 (Articles 5, 6, and 7); Ex. B ¶¶ 21-22, 137, 162, 164, 169,

172–74, 240, 251 (Articles 3, 4, 5, 6, and 7); Ex. C ¶¶ 154, 158, 162, 172, 180–82, 246, 253 (Articles 3,

4, 5, 6, and 7). Plaintiffs assert that these provisions violate the First, Fourteenth, and Fifteenth

Amendment of the Constitution. ECF 1 ¶¶ 189–08, 223–46, 250–52. So too do the plaintiffs in the

subsequently-filed cases. Ex. A ¶¶ 193–218 (1st, 14th); Ex. B ¶¶ 191–237 (1st, 14th, 15th); Ex. C

¶¶ 249–75 (1st, 14th). Plaintiffs also raise claims under the Voting Rights Act and Americans with

Disabilities Act in this case. ECF 1 ¶¶ 209–22. The plaintiffs in the other three cases raise similar

claims. Ex. A ¶¶ 112–21, 155–66 (VRA, ADA); Ex. B ¶¶ 175–90, 238–55 (VRA, ADA); Ex. C ¶¶ 243–


                                                      4
           Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 7 of 14



48, 276–83 (VRA).

        There is an exception to the first-to-file rule where certain “compelling circumstances” are

present, but the exception does not apply here. Youngblood v. JTH Tax Servs., Inc., No. 5:06-cv-380,

2006 WL 1984656, at *2 (W.D. Tex. July 17, 2006) (citing Mann Mfg., 438 F.2d at 407). Compelling

circumstances exist where “a party engaged in bad faith conduct, by inducing an opposing party to

delay filing of a lawsuit, so that he could file a preemptive lawsuit.” Sirius Computer Sols., Inc. v. Sparks,

138 F. Supp. 3d 821, 827 (W.D. Tex. 2015) (quoting Chapa v. Mitchell, No. 1:05-cv-769, 2005 WL

2978396, at *2 (W.D. Tex. Nov. 4, 2005)). There is nothing to suggest that this exception applies here.

            B. This Court Decides the Consolidation Issue

        The first-to-file rule directs that this Court decide whether to consolidate these cases because

it is where the first case was filed. The first-to-file rule contains two instructions. First, “the jurisdiction

first seized of the issues” should adjudicate the issues on the merits. Sutter, 125 F.3d at 917. And

second, the first-filed court determines “whether subsequently filed cases involving substantially

similar issues should proceed.” Id. at 920 (quoting Save Power Ltd., 121 F.3d at 948). In other words,

the first-to-file rule “not only determines which court may decide the merits of substantially similar

cases, but also establishes which court may decide whether the second suit filed must be dismissed,

stayed or transferred and consolidated.” Id. According to these principles, this Court must decide the

substantive issues presented by Plaintiffs’ Complaint and determine what to do with the three

subsequently-filed cases. As explained below, the Court should consolidate the three subsequently-

filed cases with this one.

II.     This Court Should Consolidate the Four Cases

        These cases should be consolidated because they involve common questions of law and fact,

and the relevant factors all weigh in favor of consolidation. Rule 42(a) of the Federal Rules of Civil

Procedure provides that a court may consolidate two or more related cases if they involve “a common


                                                       5
           Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 8 of 14



question of law or fact.”

        Courts should consider the following five factors in determining whether
        consolidation is appropriate: (1) whether the actions are pending in the same court; (2)
        whether there are common parties; (3) whether there are common questions of law or
        fact; (4) whether there is risk of prejudice or confusion versus a risk of inconsistent
        adjudications if the cases are tried separately; and (5) whether consolidation will
        promote judicial economy.

Holmes v. City of San Antonio, No. 5:21-cv-274, 2021 WL 2878551, at *1 (W.D. Tex. Mar. 30, 2021)

(citing Parker v. Hyperdynamics Corp., 126 F. Supp. 3d 830, 835 (S.D. Tex. 2015)). In addition to these

five factors, some courts also consider “whether the cases are at different stages of preparation.” Bryson

v. Plaza Oaks BPRE Invs., Inc., No. 7:16-cv-029, 2016 WL 8856641, at *2 (W.D. Tex. Sept. 8, 2016)

(citing Mills v. Beech Aircraft Corp., 886 F.2d 758, 762 (5th Cir. 1989)).

        Although consolidation is discretionary, “[i]n this Circuit, district judges have been ‘urged to

make good use of Rule 42(a) . . . in order to expedite the trial and eliminate unnecessary repetition and

confusion.”’ Gentry v. Smith, 487 F.2d 571, 581 (5th Cir. 1973) (alteration in original) (quoting Dupont

v. S. Pac. Co., 366 F.2d 193, 195 (5th Cir. 1966), cert. denied, 386 U.S. 958 (1967)). Courts commonly

rely on this principle when consolidating cases. See, e.g., Mission Toxicology L.L.C. v. UnitedHealthcare Ins.

Co., No. 5:17-cv-1016, 2018 WL 5733197, at *1 (W.D. Tex. Aug. 7, 2018) (quoting Gentry, ordering

consolidation); Arnold & Co., 2013 WL 1411773, at *2 (same). Indeed, the Fifth Circuit directs that

where the need for consolidation is clear, that need should “take precedence over desires of counsel.”

Casteneda v. Swift Transp. Corp., No. 3:07-cv-369, 2009 WL 10669207, at *2 (W.D. Tex. July 16, 2009)

(quoting In re Air Crash Disaster at Fla. Everglades, 549 F.2d 1006, 1014 (5th Cir. 2006)).

        This case and the three that followed it satisfy the threshold requirement that they involve “a

common question of law or fact.” Fed. R. Civ. P. 42(a). And, as explained below, each of the pertinent

factors weigh heavily in favor of consolidation.

        A.      The Cases were Filed in the Same Court

        The first factor weighs in favor of consolidation because the cases were filed in the same court,

                                                      6
          Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 9 of 14



that is, the Western District of Texas. That they were filed in different divisions makes no difference

because the rule requires only that the cases be in the same district, not the same division. See Wion v.

Dretke, No. 7:05-cv-146, 2006 WL 8441507, at *2 (W.D. Tex. July 14, 2006) (citing Santucci v. Pignatello,

188 F.2d 643, 645 (D.C. Cir. 1951)); see also Texas v. United States, No. 6:21-cv-16, 2021 WL 3171958,

at *2 (S.D. Tex. July 26, 2021) (citing Wharton v. U.S. Dept. of Hous. & Urban Dev., No. 2:19-cv-300,

2020 WL 6749943, at *2 (S.D. Tex. Mar. 3, 2020)).

        Further, consolidation in the San Antonio Division poses no threat of inconvenience to the

Austin plaintiffs. To the extent proceedings are held in person, the locations are only separated by a

little over an hour’s drive. In addition, it is likely that most of the proceedings will be conducted

remotely, which further alleviates any convenience concerns.

            B. The Cases Involve Substantially Similar Parties

        The second factor also weighs in favor of consolidation because the cases involve substantially

similar parties. As party overlap increases, so too does the efficiency gained by consolidation. See, e.g.,

Samarto v. Keller Williams Realty, Inc., No. 1:21-cv-76, 2021 WL 3596303, at *2–3 (W.D. Tex. Apr. 27,

2021) (noting common parties, ordering consolidation); Raymond v. Invest Props., L.L.C., No. 5:20-cv-

965, 2021 WL 725819, at *2–3 (W.D. Tex. Feb. 17, 2021) (same); cf. Brown v. Fort Hood Fam. Hous. L.P.,

No. 5:20-CV-704, 2020 WL 10758046, at *2 (W.D. Tex. Sept. 25, 2020) (noting no common parties,

denying consolidation). All four lawsuits name Acting Secretary of State Esparza and Attorney General

Paxton as defendants. Three lawsuits name Harris County Elections Administrator Isabel Longoria as

a defendant, while two name Governor Abbott and Travis County Clerk Dana DeBeauvoir as

defendants. And the four sets of plaintiffs, though nominally different, are quite similar in substance.

Most of the plaintiffs are organizations who purport to represent the interests of their respective voter

constituencies. They all allege similar harms by the same law for similar reasons.




                                                     7
          Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 10 of 14



            C. The Cases Involve Nearly Identical Legal Issues

        The third factor weighs heavily in favor of consolidation because the four cases present nearly

identical legal and factual issues. Similar to the second factor, as the overlap of factual and legal issues

increases, so too does the efficiency gained by consolidation. This is so because, where substantially-

similar cases are not consolidated, discovery and motion practice are “likely to be highly duplicative,

which risks unnecessary costs and delay.” Dryshod Int’l, L.L.C. v. Haas Outdoors, Inc., No. 1:18-CV-596,

2019 WL 5149860, at *2 (W.D. Tex. Jan. 18, 2019); see also Samataro, 2021 WL 3596303, at *3. As

explained above, the four cases challenge the same provisions of SB1 as contrary to the many of the

same constitutional amendments and federal statutes. Any minor differences with respect to the

particular plaintiffs do not override the substantial similarity between the facts and legal issues in these

four lawsuits. What is of overriding importance is that the core issues—whether SB1 violates the

Constitution and federal law—are the same.

            D. There is Little Risk of Confusion if the Cases are Consolidated, But There is
               Great Risk of Prejudice from Inconsistent Adjudications if They are Not

        The fourth factor weighs heavily in favor of consolidation. The fourth factor asks the Court

to weigh the risk of confusion if the cases are consolidated against the risk and prejudice of

inconsistent adjudications if they are not. There are two competing concerns. On the one hand, a jury

may improperly blend the issues in a consolidated case. On the other, the same issue may be

inconsistently decided in unconsolidated cases. See, e.g., Yeti Coolers, 2015 WL 4759297, at *2; Lay v.

Spectrum Clubs, Inc., No. 5:12-cv-754, 2013 WL 788080, at *2–3 (W.D. Tex. Mar. 1, 2013).

        This factor weighs heavily in favor of consolidation for two reasons. First, inconsistent

adjudications would be especially prejudicial in these circumstances. The issue of SB1’s legality is the

quintessential type of issue that “call[s] for a uniform result,” and resolution of that question will not

be aided by multiple decisions. Yeti Coolers, 2015 WL 4759297, at *1 (quoting Int’l Fid. Ins. Co. v. Sweet

Little Mexico Corp., 665 F.3d 671, 678 (5th Cir. 2011)). The common issues presented by these four

                                                     8
         Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 11 of 14



cases have only one answer: SB1 is either a valid act of the Texas Legislature or it is not. The issues

presented in these cases demand uniform resolution, and consolidation will help ensure that

uniformity. The risk of prejudice in the event of inconsistent adjudications is high.

        Second, consolidation poses no risk of confusion or prejudice to the plaintiffs. As a

preliminary matter, the four complaints raise only equitable claims, meaning there will not be a jury

that might be confused by consolidation. And to the extent consolidation would pose any procedural

confusion, it would be greatly outweighed both parties’ interest in reaching a consistent judgment.

             E. Consolidation Will Conserve Judicial Resources

        The fifth and final factor, whether consolidation will conserve resources and promote judicial

economy, weighs in favor of consolidation because these cases involve the same legal and factual

issues and will, therefore, proceed along the same procedural path. Consolidation promotes judicial

economy where the related cases will draw from the same witnesses or other sources of discovery,

involve similar legal briefing, turn on similar issues of fact or law, or are otherwise able to efficiently

proceed together. See Frazier, 980 F.2d at 1532; see, e.g., Dryshod, 2019 WL 5149860, at *2; RTIC

Drinkware, L.L.C. v. YETI Coolers, L.L.C., No. 1:16-cv-907, 2017 WL 5244173, at *3 (W.D. Tex. Jan.

18, 2017); Lay, 2013 WL 788080, at *3. As explained above, each of these cases will determine whether

SB1 is contrary to the Constitution and federal law. Those legal issues can be decided together.

Further, if the cases proceed to discovery, the parties can conduct discovery together, and they will no

doubt rely on much the same evidence in subsequent motion practice or at trial. In short, all pertinent

considerations indicate that these cases should be combined and that consolidation will result in

significant conservation of judicial resources.

        F.      All of the Cases are at an Early Stage

        Some courts also consider whether the cases are at similar stages of development, and this

additional factor weighs strongly in favor of consolidation. Courts considering this factor find it


                                                     9
          Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 12 of 14



efficient to consolidate cases that are both newly filed, or both ready for trial. Likewise, it is inefficient

to consolidate cases that are at starkly different stages in the litigation process. See, e.g., RTIC Drinkware,

2017 WL 5244173, at *3; Lay, 2013 WL 788080, at *3. All four cases challenging SB1 are at a very

early stage. Indeed, the cases were filed within four days of each other. Neither this Court nor the

Austin Division has held an initial conference. Nor have the parties in any of these cases conducted

any discovery or filed any substantive briefing. Consolidation at this early point in time is entirely

appropriate and does not pose any logistical concerns.

        G.       The Balance of the Factors Weighs Heavily in Favor of Consolidation

        The pertinent considerations overwhelmingly favor consolidation. Most importantly, the four

cases involve similar legal issues and facts. The legal issues must be decided uniformly, and

consolidation will ensure there are no inconsistent adjudications. The four cases are also before the

same court, involve substantially similar parties, and are at a very early stage. Further, consolidation

poses no risk of confusion and will greatly conserve judicial resources. For these reasons, the proper

course is for the Court to consolidate the three subsequently-filed cases into this one.

        H.       The Cases Must be Consolidated in the San Antonio Division

        Because the factors all favor consolidation, the four cases must be consolidated in the San

Antonio Division. The “common practice” in the Western District of Texas is “for cases to be

consolidated into the first-filed case.” Holmes, 2021 WL 2878551, at *2.

                                               CONCLUSION

        The State Defendants respectfully request that the Court consolidate OCA-Greater Houston v.

Esparza, Houston Justice v. Abbott, and LULAC Tex. v. Esparza into this matter.




                                                      10
         Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 13 of 14



Date: September 14, 2021             Respectfully submitted.

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                                       11
         Case 5:21-cv-00844-XR Document 24 Filed 09/14/21 Page 14 of 14




                                  CERTIFICATE OF CONFERENCE

        I certify that on September 13 and 14, 2021, counsel for the State Defendants conferred with
counsel for Plaintiffs in the present case, and counsel for the plaintiffs in OCA-Greater Houston v.
Esparza, No. 1:21-cv-780 (W.D. Tex.), Houston Justice v. Abbott, No. 5:21-cv-848 (W.D. Tex.), and
LULAC Tex. v. Esparza, No. 1:21-cv-786 (W.D. Tex.), about the foregoing motion. Plaintiffs in the
present case (with the exception of Isabel Longoria who takes no position) and the plaintiffs in the
Houston Justice case do not oppose consolidation. Plaintiffs in the LULAC Tex. case have no position
on the issue of consolidation at this time. Plaintiffs in the OCA-Greater Houston case stated that they
were opposed to the relief requested because they did not agree that consolidation into the present
case was appropriate in the circumstances. Counsel for the other defendants in these cases have not
yet entered appearances and, therefore, the State Defendants were unable to confer with them
regarding their positions on consolidation.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN


                                     CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on September 14, 2021, and that all counsel of record were served by CM/ECF.

                                               /s/ Patrick K. Sweeten
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                                                  12
